UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW HAMPSHIRE

 

Scottsdale Capital Advisors Corp. er al., Docl<et No. l:l6-cv-00545

Plaz'ntz`ffs
v.

The Deal, LLC, et al.,

Defendants

 

AFFIDAVIT OF CHARLES J. HARDER
IN SUPPORT OF MOTION PURSUANT TO
LOCAL RULE 83.2(b) F()R ADMISSION PRO HAC VICE

l, Charles J. Harder, being duly sworn, on oath depose and say that:

l. l submit this Affidavit, in support of the Motion Pursuant to Local Rule
83.2(b) for Admission Pro Hac Vice, to appear on behalf of Plaintiffs Scottsdale Capital
Advisors Corporation and John Hurry in the above-captioned matter before this Court.

2. Scottsdale Capital Advisors Corporation has a business address of 7170 E.
McDonald Dr. #6, Scottsdale, Arizona 85253.

3. John Hurry is an individual residing in Glenbrook, Nevada Who maintains a
business office in Glenbrook, Nevada.

4. l am an attorney at law and a partner in the law firm of Harder Mirell &
Abrams, LLP, 132 S. Rodeo Dr., 4‘h Floor, Beverly Hills, California 90212. My office
telephone number is 424-203-1600. l am a resident of the State of California.

5. l have been admitted as a member of the Bar of the State of California as of
December 2, 1996. l have been a member in good standing of the Bar of this State since
admission

6. l am also admitted to practice in the following federal courts:

{00076598;1}

 

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COURT YEAR OF ADMISSION
United States Court oprpeals 9th Circuit 1997

United States Court of Appeals llth Circuit 2012

United States Dist. Court Central Dist. of California 1996

United States Dist. Court Central Dist. of Illinois 2003

United States Dist. Court Southern Dist. of California 2004

United States Dist. Court Eastern Dist. of California 2009

United States Dist. Court Southern Dist. of NeW Yorl< 2014

United States Dist. Court Eastern Dist. of Michigan 2016

7. l have never been denied admission pro hac vice, or had admission pro hac

vice revoked, in New Hampshire or any other court.

8. I have never been disciplined or sanctioned by any court in NeW Hampshire
or any other court.

9. During the course of this case, IWill be associated With George R. Moore,
Esq. (Bar No. 1791) from the law firm of Devine Millimet & Branch, PA. Attorney
Moore is a member in good standing of the Bar of the State of New Hampshire.

10. l respectfully request that my application for pro hac vice admission to

practice before this Court be granted

Dated: January 4, 2017 W\

Charles J. flarder

STATE OF CALIFORNIA
COUNTY OF LOS ANGELES

The foregoing instrument Was acknowledged before me this j/Z iv day of
v a ,,2017 by Charles J. Harder "

 
 
  

 

 

 
  

    

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Notary Publ|c ~ California
Los Ange|es County

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